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AO 93 (Rev. 11/13) Search and Seizure Wazrant(USAO CDCA Rev.04/17)
                                                                                                                          o~IG~Na~
                                            U1~TITED STATES DISTRICT COURT
                                                                              for the
                                                                 Central District of California

                          In the Matter ofthe Search of                 ~       )
                (Briefly describe the property to be searched or ident~ the
                               person byname and address)                        ~       Case No.
          One white Samsung cellular telephone, serial
          number R39G4024D6E; one blue Samsung cellulaz
                                                                                )
                                                                                                     1~  ~'    ~~ ' ~ ~?

          telephone, serial number 354416100658277; and
          one black Samsung cellular telephone, serial                          )
          number 356567090751437.

                                                   SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
        An application by a federal law enforcement officer or an attorney for the government requests the.search
ofthe following person or property located in the Central District of California (tdenti,/y the person aadescribe~the property to be searched
                                                                                                                   -<      c-,r=
and give its location):                                                                                                   r=,~,
                                                                                                                          r_ -~-    ..~
                                                                                                                          ~~;       _
       See Attachment A                                                                                                    ~`=      o
                                                                                                                         >r ✓~
                                                                                                                          c^;~     ~
                                                                                                                                   fV
        I fmd that the affidavit(s), or any recorded testimony, establish probable cause to se                  d    ~',the~erson or      cz erty
described above, 8.ild that SUCK Se31'Ch W11I CeV281 (identify the person or describe the property to be sewed) r-,
                                                                                                                 ~~~ ~~ _
                                                                                                                        va-;-
       See Attachment B                                                                                                     =w;

        Such       davit or testunony are incorporated herein by reference.                                              '~        w


          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (nor ro exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m. ❑ at any time in the day or night because good cause has been established.
        Unless delayed nofice is authorized below, you must give a copy ofthe warrant and a receipt for the property taken to the
person,from whom,or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution ofthe warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Jude on duty,at the time ofthe return
throw a filing with the Clerk's Office.
      ❑ Pursuant to 18 U.S.C. §3103a(b),I find that immediate notification may have an adverse result listed in 18U.S.C.
§ 2705 (except for delay oftrial), and authorize the officer executing this warrant to delay notice to the person who,or whose
property, will be searched or seized (check the appropriare box)
        ❑ for         days (not ro exceed 30)       ❑until,the facts justifying, the later specific date of


Date and time issued:           ~ (~ ~~~                      Jo~
                                                           ~ ~r                           UV~~~G1.
                                                                                                              Judge's signature

City and state:              Los An~;eles, CA                                           Hon. Alicia G. Rosenberg, U.S. Magistrate Judge
                                                                                                           Printed name and title

AUSA:             Matthew J. Jacobs, Ext. 2213
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                                                                  Return
Case No.:                               Date and time warrant executed:        Copy of warrant and inventory left with:
     i9 M o3~ ~D                           9 ~s a~► q            ~d:ooA,~              NA
Inventory made in the presence of
    AZF S~Ecz~L                    (r~NT           i,AN=E L iHohPSo N
Inventory of the property taken and name of any persons) seized:

 • SAMSuN~ CE1,~v1.a~Z i~,LEPHoNE , S~R~nL i# R39Gua~-ND6E
           REV AGE           2N FoRhAT~oN
      - wE~ H=S'~~Y
           (;AL~NOPc~

      - ~r~GES
        — v~oEos
            Fwo~o ~ ~~ES

• SAMSuNG                ~E~1,u1,A~ iELtPHoNE , S~~=Al. ~ 3 Su ~ 16 I oa6 S$ 3 ~"1
            V ~rA~~E             To       ACCESS / SEAQ~1-F



~    SAMS~NG               CEI,L~I.~~ I~I.C~!-bN~.                 SERT~L       ~ 3Ssss`Jo90 ~S I ti3~
      - USABLE              TU        Ac(ESS ~SE~~G l-f




                                                               Certification


       I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:          ~~   a'a'     ~~ 1                                         T .~ _ _                                    __. _--
                                                                                      Executing officer's signature

                                                                   =.oANN=S     Opu~OVP=S _,__S~EC=A~_~~E~T_ __
                                                                                         Printed name and title
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                              ATTACFIMENT A

PROPERTY TO BE SEARCHED

     The following digital devices (the "SUBJECT DEVICES"),

seized on July 31, 2019, and currently maintained in the custody

of the Los Angeles Police Department in Los Angeles, California:

     1.    one white Samsung cellular telephone with serial

number R39G4024D6E;

     2.    one blue Samsung cellular telephone, Model SM-G975U,

with serial number 354416100658277; and

     3.   ,one black Samsung cellular telephone, Model Note-9,

with serial number 356567090751437.




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                              ATTACF~NT B

I.   ITEMS TO BE SEIZED

     1.    The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

~~ 841(a)(1) (possession with intent to distribute a controlled

substances), 846 (conspiracy and attempt) ,- and 18 U.S.C.

~ 922(g) (1) (felon in possession of. a firearm) (the "Subject

Offenses"), namely:

           a.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

           b.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

           c.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;




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          d.    Records, documents, programs, applications,

materials, or conversations relating to the trafficking of

drugs, including ledgers, pay/owe records, distribution or

customer lists, correspondence, receipts, records, and documents

noting price, quantities, and/or times when drugs, guns, or

ammunition were bought, sold, or otherwise distributed;

          e.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,.

transportation, or distribution of drugs, guns, or ammunition;

          f.    Contents of any calendar or date book;

          g.    Global Positioning System ("GPS") coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          h.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          i.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as



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viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.    evidence of the times the device was used;

                 vi.   passwords, encryption keys, and other access

devices that may be necessary to access the device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device's

Internet activity, including firewall logs, caches, browser

history and cookies, "bookmarked" or "favorite" web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.    As used herein, the terms "records," "documents,"

"programs," "applications," and "materials". include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.




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II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

      3.   In searching the SUBJECT DEVICES (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the "search team") may

search any SUBJECT DEVICE capable of being used to facilitate

the above-listed violations or containing data falling within

the scope of the items to be seized.

           b.   The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

           c.   The search team shall complete the search of the

SUBJECT DEVICES as soon as is practicable but not to exceed 120

days from the date of issuance of the warrant.        The government

will not search the digital devices beyond this 120-day period

without obtaining an extension of time order from the Court.

           d.   The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine

whether the SUBJECT DEVICE and any data thereon falls within the

scope of the items to be seized.      The search team may also

search for and attempt to recover deleted, "hidden," or



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encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as ~~EnCase" and ~~FTK" (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

           e.    If the search team, while searching a SUBJECT

DEVICE, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of -that

SUBJECT DEVICE pending further order of the Court and shall make

and retain notes detailing how the contraband or other evidence

of.a crime was encountered, including how it was immediately

apparent contraband or evidence of a crime.

           f.    If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

           g.    If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.



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           h.    If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the

government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.

           i.    The government may also retain a SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           j.    After the completion of the search of the SUBJECT

DEVICES, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

     4.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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